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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEBRASKA

HANNAH SABATA, et al.,                                   Case No. 4:17-cv-03107-BCB-MDN

                     Plaintiffs,                         CLASS ACTION

              v.                                         JOINT STIPULATION OF DISMISSAL
                                                         WITHOUT PREJUDICE
NEBRASKA DEPARTMENT OF
CORRECTIONAL SERVICES, et al.,

                     Defendants.




              Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs Hannah

Sabata, Dylan Cardeilhac, James Curtright, Jason Galle, Richard Griswold, R.P., Isaac Reeves,

and Michael Gunther (“Plaintiffs”) and Defendants Nebraska Department of Correctional

Services, Scott Frakes, Harbans Deol, and Nebraska Board of Parole (“Defendants”), hereby

stipulate and agree that the above existing action of each Plaintiff against Defendants is

DISMISSED WITHOUT PREJUDICE. Each Party shall bear his, her, and its own costs and

expenses, including attorneys’ fees.




[3654642.1]
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DATED: November 30, 2020              ACLU NATIONAL PRISON PROJECT
                                      ACLU OF NEBRASKA
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                                      NATIONAL ASSOCIATION OF THE DEAF
                                      NEBRASKA APPLESEED
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                                    NEBRASKA DEPARTMENT OF
                                    CORRECTIONAL SERVICES,
                                    SCOTT FRAKES, HARBANS DEOL,
                                    and NEBRASKA BOARD OF PAROLE,
                                    Defendants.

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[3654642.1]
